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AO 242 (Rev. 09/17) Petition for a Writ of HabeasCorpus Under 28 U. S.C. § 2241                                                 t .. 't
                                                                                                                  l:';-iAr^ W. NAn,
                                        UNITED STATES DISTRICT COURT                                                                           -:l-
                                                                           forthe                        nil A13 !8 PHI2: 4 j
                                                             Southern District of Ohio
                                                                                                                                          ".. r; 11;.. r
                                                                                                         ,   '"\'''-., U'^. U':1;' '_^^Ut\ i
                         Franklin Vostatek                                    )                          "UUJHERN DiST. OHIO
                                                                              )                         ^ST. OiV. COLUMBUS
                                                                              )
                               Petitioner
                                                                              )
                                                                              )                   2A22 CV3 1 58
                                   V.                                         )
                                                                              )      Case No.
                                                                                                      (Suppliedby Clerk of Court)
Residential Reentry Manager, CincinnatiOffice, Federal )
                         Bureau of Prisons )
                                                                              )                     3UDCE MARBLEY
                           Respondent
(name of warden or authorized person having custody ofpetitioner)
                                                                                                   MACJSmiEJUDGE S |j\j"
                          PETITIONFORA WRITOFHABEASCORPUSUNDER28 U.S.C. § 2241
                                                                Personal Information

1.        (a) Your full name: Franklin Vostatek
          (b) Other names you have used:
2.        Place of confinement:
          (a) Name ofinstitution:              Alvis House
          (b) Address:                          1755Alum Creek Drive
                                                Columbus, OH 43207
          (c) Your identification number:     26822-509
3.        Are you currently being held on orders by:
          PfFederal authorities                D Stateauthorities                 D Other- explain:

4.        Are you currently:
          DA pretrial detainee (waiting for trial on criminal charges)
          PfServing a sentence (incarceration, parole, probation, etc. ) afterhaving beenconvicted ofa crime
             If you are currently serving a sentence, provide:
                     (a) Name and location ofcourt that sentenced you:                     U-S. District Court, Columbus, Ohio

                     (b) Docket number of criminal case:                          2:20-cr-00131
                 (c) Date of sentencing: 01/07/2022
          D Being held on an immigration charge
          0 Other (explain):




                                                   Decision or Action You Are Challenging

5.        What are you challenging in this petition;
          0'How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
             revocation or calculation of good time credits)

                                                                                                                                                           Pa.uc 2 ol' 9
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AO 242 (Rev. 09, 1 7) Petition for a Writ of HabeasCorpus Under 28 U. S.C. § 2241

          0 Pretrial detention
          O Immigration detention
          0 Detainer
          0 The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
            maximum or improperly calculated under the sentencing guidelines)
          H Disciplinary proceedings
          H Other (explam):



          Provide more information about the decision or action you are challenging:
          (a) Name and location of the agency or court: Federal Bureau of Prisons, Washington DC

          (b) Docket number, case number, or opinion number:                  None
          (c) Decision or action you are challenging (for disciplinaryproceedings, specify thepenalties imposed):
          Refusal of the Bureau of Prisons to credit earned time credits (ETCs) to which I am entitled under the First Step
          Act to reduce my sentence.


          (d) Date of the decision or action:               07/29/2022

                                             Your Earlier Challenges of the Decision or Action

          First appeal
          Did you appeal the decision, file a grievance, or seek an administrative remedy?
          0 Yes                           [?<No
          (a) If "Yes," provide:
                     (1) Name of the authority, agency, or court: See Memorandum in Support

                     (2) Date offiling:
                     (3) Docket number, case number, or opinion number:
                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:




           (b) If you answered "No, " explain why you did not appeal:



          Second appeal
          After the first appeal, did you file a second appeal to a higher authority, agency, or court?
          a Yes                    a No


                                                                                                                    Page 3 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U. S. C. § 2241

          (a) If "Yes," provide:
                     (1) Name ofthe authority, agency, or court: See Memorandum in Support

                     (2) Date of filing:
                     (3) Docket number, case number, or opinion number:
                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:




          (b) If you answered"No," explain why you did not file a second appeal:



9.        Third appeal
          After the second appeal, did you file a third appeal to a higher authority, agency, or court?
          a Yes                  0 No
          (a) If "Yes," provide:
                     (1) Name of the authority, agency, or court: See Memorandum in Support

                     (2) Date of filing:
                     (3) Docket number, case number, or opinion number:
                     (4) Result:
                     (5) Date of result:
                     (6) Issues raised:




           (b) If you answered "No, " explain why you did not file a third appeal:



10.        Motion under 28 U.S.C. § 2255
           In this petition, are you challenging the validity of your conviction or sentence as imposed?
          0 Yes                           ^No
           If "Yes," answerthe following:
           (a)       Have you alreadyfiled a motion under 28 U. S.C. § 2255 that challengedthis conviction or sentence?
                     1~)Yes                              H No


                                                                                                                   Page 4 of 9
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AO 242 (Rev. 09, 1 7) Petition for a Writ of HabeasCorpus Under28 U. S.C. § 2241

                     If "Yes, " provide:
                     (1) Name of court:
                     (2) Case number:
                     (3) Dateoffiling:
                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:




          (b)        Have you ever filed a motion in a United States Court ofAppeals under 28 U. S. C. § 2244(b)(3)(A),
                     seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                     sentence?
                    D Yes                               0 No
                     If "Yes, " provide:
                     (1) Name of court:
                     (2) Case number:
                     (3) Date of filing:
                     (4) Result:
                     (5) Date of result:
                     (6) Issues raised:




          (c)       Explainwhytheremedyunder28 U. S.C. § 2255 is inadequateor ineffectiveto challengeyour
                     conviction or sentence:




11.       Appeals of immigration proceedings
          Does this case concern immigrationproceedings?
         0 Yes                          P^No
                    If "Yes, " provide:
          (a)       Date you were taken into immigration custody:
          (b)       Date ofthe removal or reinstatement order:
          (c)       Didyou file an appeal with the BoardofImmigration Appeals?
                    D Yes                              1-1 No


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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U. S. C. § 2241


                     If "Yes," provide:
                     (1) Date of filing:
                     (2) Case number:
                     (3) Result:
                     (4) Date ofresult:
                     (5) Issues raised:




           (d)       Didyou appeal the decisionto the United States Court ofAppeals?
                     a Yes                    0 No
                     If "Yes, "provide:
                     (1) Name of court:
                     (2) Date of filing:
                     (3) Case number:
                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:




12.        Other appeals
           Otherthan the appeals you listed above, haveyou filed any other petition, application, or motion aboutthe issues
          raised in this petition?
          0 Yes                    0 No
           If "Yes," provide:
           (a) Kind of petition, motion, or application:
           (b) Name of the authority, agency, or court:

           (c) Date of filing:
           (d) Docket number, case number, or opinion number:
           (e) Result:
           (f) Date of result:
           (g) Issues raised:




                                                                                                                   Pa"c 6 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of HabeasCorpus Under28 U. S.C. § 2241

                                               Grounds for Your Challenge in This Petition

13.       State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

        GROUND ONE: The BOP is Failing to Credit Earned-Time Credits according to Its Rules, Implicating My
          Liberty Interests



          (a) Supporting facts (Be brief. Do not cite cases or law. ):
          See Memorandum in Support




          (b) Did you present Ground One in all appeals that were available to you?
          0 Yes                         0 No

        GROUND TWO:




          (a) Supporting facts (Be brief. Do not cite cases or law. ):




           (b) Did you present Ground Two in all appeals that were available to you?
          a Yes                          a No


       GROUND THREE:




           (a) Supporting facts (Be brief. Do not cite cases or law. ):




           (b) Didyou present GroundThree in all appealsthat were availableto you?
           OYes                          ONo



                                                                                                                      Pa.s;u 7 ol' 9
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        GROUND FOUR:




          (a) Supporting facts (Be brief. Do not citecasesor law.):




         (b) Did you present Ground Four in all appeals that were available to you?
         0 Yes                 D No


14.       If there are any grounds that you did not present in all appeals that were available to you, explain why you did
          not:




                                                                Request for Relief

15. State exactly whatyou want the court to do:                 Orderthe BOPto forthwith apply all of Petitioner's ETCs and to
reduce his sentence in accordancewith 18 U. S. C. § 3624(g)(3)




                                                                                                                             Page 8 of 9
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AO 242 (Rev. 09/17) Petition for a Writ ofHabeasCorpus Under28 U. S.C. § 2241

                                                   Declaration Under Penalty Of Perjury

          If you are incarcerated, on what date did you place this petition in the prison mail system:
          Not applicable


T declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is tme and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.




Date:                r?
                          TK
          August ' / , 2022                                   ^a. u. v^^/^       Siffnature ot'Petitiont'r




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                             IN THE UNITED STATES DISTRICTCOURT
                              FORTHE SOUTHERNDISTRICTOF OHIO



FRANKLINVOSTATEK,                                              Case No.


                       Petitioner,

               -vs-


RESIDENTIALREENTRYMANAGER,
  CINCINNATI OFFICE,
  FEDERAL BUREAU OF PRISONS,

                       Respondent.


       I, Franklin Vostatek, Petitioner herein, file this Memorandum in Support of SLPetition for

Writ ofHabeas Corpus filed pursuant to 28 U. S.C. § 2241.

        1.     ReliefSought: I seek an order to the Residential Reentry Manager, Cincinnati

Office, Federal Bureau of Prisons, that he calculate and apply eamed-time credits (ETCs) I have

earned pursuant to 18 U. S. C. § 3632 for every 30 days on a rolling basis, and to recalculate my

release date based on the application of those ETCs.

       2.      I began service ofmy sentence on or aboutFebmary9, 2022. SeeExhibit1. I

have a statutory release date of December 1, 2022. According to BOP procedure, I had amassed

15 days of ETC credit as of March 10, 2022, and I should have continued to earn ETC since that

time. I calculate that as of the date of this Petition, I should have earned at least an additional 60

days of ETC since that date. The effect ofthose additional ETCs should be to shorten my

statutory sentence by one day for every day of ETC earned, or at least 60 days from December 1,

2022 (which is October2, 2022).
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         3.     A petition for habeascorpus under 28 U. S. C. § 2241 "attacks the execution of a

 sentence, while a § 2255 motion attacksthe validity ofa conviction andsentence.'\Capaldi v.

 Pontesso, 135 F.3d 1122, 1123 (6th Cir. 1998) (citing United Statesv. Jalili, 925 F.2d 889, 893

 (6th Cir. 1991). Because I am not questioningthe lawfulnessofthe sentencebut rathermerely

 the waythe BureauofPrisons is executingit, this District Court has subject-matterjurisdiction.*

         4.     Exhaustion of Remedies: The BOP calculated my ETCs on or about March 10,

 2002. See Exhibit 1 (whichnotes the release date auditwascompleted on March 10, 2022). At

 that time, I inquiredofthe BOPas to whenI wouldreceivemy updatedETCs for periodsbeyond

 the one ending March 10. My Case Manager told me that the ETCs would be updated on or by

 August 1, 2022. Suchan updatewouldnot haveprejudicedme unduly, becausethose updated

 credits wouldhave advancedmy release dateto early October. Thus, I acceptedthe BOPcase

 manager's representation. In fact, I verified the August 1, 2022, date by referencing a declaration

 from Susan Giddings, Chief of the Unit Management Section, Correctional Services Division,

 Bureau of Prisons, filed by the government as an exhibit in Stewart v. Snider, Case No. 1:22-cv-

 00294, in the Northern District ofAlabama(ECF 11-14, filed April 29, 2022). SeeExhibit2.




         '      Because the administration of service credits, including calculation, awarding, and
 withholding, is done by the BOP under 18 U. S. C. § 3624, this process involves the execution
 rather than the imposition of sentence. Thus, it is a function of BOP that is a matter for habeas
 corpus review in district court. Bishopv. Reno, 210F.3d 1295, 1304n. l4 (11th Cir. 2000), citing
 Trevino-Casaresv. UnitedStates Parole Comm'n, 992 F.2d 1068, 1070(10th Cir. 1993); Boyden
 v. Bell, 631 F. 2d 120, 122-23 (9th Cir. 1980) (challenging award ofremission credits affecting
 parole); andJones v. Cunningham, 371 U. S. 236, 239-40 (1963) (holding that parole constitutes
 custody amenable to habeas corpus relief under 28 U. S. C. § 2241); United States v. Tubwell, 37
 F.3d 175, 177 (5th Cir.1994) (a habeaspetition under28 U. S.C. § 2241 "challengesthe manner
 in which [a] sentence is being executedrather than the validity of [the] conviction and
 sentence").
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 She likewise represented that the BOP updating software would be in place and automatic rolling

 updates availableby that date.

        5.      At about the August date for receiving the updated ETC calculation, I was

 transferred to a halfway house on August 4, 2022.

        6.      As of the date of this Petition, my ETCs have not been updated. I reasonably

 relied on the BOP's representation that my updatedETCs would be completed by August 1,

 2022. Administrative exhaustionat this point would be futile, because the agency deadline even

 to respond to my initial request would not fall until after the September adjusted release date.

 The BOP's representation, on which it expected me to rely, has rendered futile any attempt to

 resolve the issue I am raising administratively.

        7.      I did not know, nor could I reasonablyhave known, that the BOP would not

 adhere to its promise to awardETCs by August 1, 2022, until it failed to do so. Whenthe

 inability to timely exhaustremedies is due to matters outside ofthe petitioner's control, any

 failure to completely exhaustremedies results from an "unreasonableor indefinite timeframe for

 administrative action," with resulting prejudice to me. McCarthy v. Madigan, 503 U. S. 140,

 146-47 (1992) (one of three bases for excuses a complete failure to exhaust is where "requiring

 resort to the administrative remedy may occasion undue prejudice to subsequent assertion of a

 court action. Such prejudice may result, for example, from an unreasonable or indefinite

 timeframe for administrative action... ").


        8.      Thus, I should be deemed to have exhaustedmy administrative remedies for

 purposes of proceeding on habeas corpus under 28 U. S. C. § 2241.

        9.      Facts: I was convicted in the United States District Court for the Southern

 District of Ohio on a guilty plea to a two-count information chargingof conspiracyto unlawfully
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 distribute controlled substances in violation of21 U. S.C. §§ 841(a)(l) and (b)(l)(E)(i), and 846,

 and 18 U. S. C. §§ 1035(a)(2) and 2. Judgment in a Criminal Case, ECF 25, Jan. 21, 2022. 1 was

 sentenced to 12 months and one day of incarceration, three years of supervised release, and a

 special assessment and fine not relevant here. As noted, I beganmy incarcerationon Febmary 9,

 2022. 5'ee Exhibit 1.


          10.      I am now and have always been classifiedunder the BOP's PATTERNrecidivism

 risk tool as having a minimum risk of recidivism and minimum risk of violence. See Exhibit 3.

 As ofAugust 4, 2022, 1 have served 176 days, duringwhichtime I havenot received any

 incidentreports nor refusedto participate in the Inmate FinancialResponsibilityprogram. At all

 times since February 9, 2022, I have been qualified to earn ETCs as an "eligible inmate" within

 the meaning of28 CFR § 523.41(c) and(d).

          11.       I received the 15 days of ETC credit to whichI was entitled on March 10 (after

 30 days of incarceration). 18 U. S.C. § 3632(d)(4)(i); 28 CFR § 523.42(c)(2)(i). However, I am

 also eligible for 15 days ofETCs for every 30 days I successfully participated in appropriate

 activities since that time. 18 U. S.C. § 3632(d)(4)(ii); 28 CFR § 523.42(c)(2)(ii). Those should

 number


          .     15 days from March 10, 2022, through April 9, 2022;
          .     15 days from April 10, 2022, to May 10, 2022;



                   "PATTERN" is an acronym for "Prisoner Assessment Tool Targeting Estimated
 Risk and Needs. " Found at
 https:/7mj. qjp. gov/sites/g/files/xyckuhl71/files/media/document/the-first-step-act-of-2018-iiski
 and-needs-assessment-system       1 . pdf

         PATTERN was modified and adopted in final form on January 15, 2020. Dept. of
 Justice, The First Step Act of 2018: Risk and Needs Assessment System Update - January 2020
 (January 15, 2020), found at https://www. bop. gov/ininates/fsa/docs/the-first-step-act-ot-2018-
 nsk-and-needs-assessment-system-updated.pdf(both last visited June 24, 2022).
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           .     15 days from May 10, 2022, through June 9, 2022;and
           .     15 days from June 10, 2022, through July 9, 2022.3

 Only 15 days were credited to reducing my release date from December 16, to December 1,

 2022. Applying these additional 60 days to my current statutory release date of December 1,

 2022, would advancemy release date to about October2, 2022.

           12.      In its Final Rule, 87 FR 2705 (January 19, 2022), the Bureau stated that "Time

 Credits for successful participationare awardedat the end ofeachthirty-day period. " This is

 required by 18 U. S. C. § 3632(d)(4)(A)(ii). Despite this, the BOP has not done so.

           13.       The BOP has been opaque as to its procedure for calculating ETCs. However, in

 the Giddings declaration (Exhibit 4) the BOP admitted that it has adopted "interim procedures"

 that "will remain in effect until the BOP completes an auto-calculation application to the BOP's

 real-time information system (known as SENTRY) and full integration between SENTRYand

 the BOP's case management system (known as INSIGHT)... Respondent assures the Court that,

 during the initial period and beyond, the BOP's focus and attention is on ensuring the accurate

 calculation and application ofFSA time credits. " (Id. at ^ 9-10).

           14.      Under these interim procedures, the BOP is calculating credit based on the total

 number of days in the inmate's designated facility divided by 30 days (one-month average) and

 multiplied by 15 (in my case). The agency uses the latter of the date an inmate arrives at the




       3            I wastransferredto a halfwayhouse before completion ofthe 30-daytranche
 from July 10 to August 9, 2022, thus making me ineligible for credits during the final 25 days of
 my incarceration.

       4            Foundat https://w\\w.   federalregister.gov/d/2022-00918/p-78 (last accessedJune
 24, 2022).
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 initial designated facility or the First Step enactment date of December21, 2018, as the start date

 for calculation purposes. Batch data is available monthly and is extracted on the last Saturday of

 the last full week ofthe month. Beginning on December25, 2021, monthly data sets of inmates

 who are within 24 months of their statutory release date were extracted, and their FSA time

 credits were calculated. See Exhibit 2.


        15.     Once the initial calculation was performed for me, the BOP interim policy

 dictated that no additional calculation would be performed until the new auto-calculation is

 adopted. This policy is inconsistent with statute. The BOP hadpromised that adoption ofthat

 auto-calculation software would occur in about 90 days from the end of April, which should have

 been about August 1, 2022. However, that date has come and gone, and the BOP has not

 implemented the new auto-calculation program.

        16.     Argument: The BOP interim procedure may not adversely affect most inmates,

 whose release dates are sufficiently in the future that awaiting the implementation of an

 automated system will not prejudice their release. But that same guidance, applied to inmates in

 my position, is reasonably likely to cause us to be held past the release date mandated by statute.

 Based only on the credits applied to my sentence as of March 10, 2022, the BOP moved my

 release forward by 15 days. But I should have received a total of 75 ETCs for five successful 30-

 day periods, starting February 9 through July 9. The uncredited ETCs I have will move my

 release date another 60 days, to about October 2, 2022.

         17.    There is no dispute that I have earned ETCs that will yield an earlier release date.

 The only way to ensure that I am awardedthe date to whichthe law entitles me is to order the

 BOP to calculate my ETCs accordingto its own policy andpractice after every 30 days.

         18.    I have a protected liberty interest in supervised release. See United States v.
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 Krueger, 815 Fed.Appx 847, 855 (6th Cir. 2020) ("defendants have 'a constitutionally protected

 liberty interest in avoiding involuntary administration of antipsychotic drugs' while on

 supervisedrelease"); Harperv. Young, 64 F.3d 563, 566-67 (10th Cir. 1995) ("A prisonerrelease

 program which permits a convict to exist, albeit conditionally, in society on a full-time basis

 more closely resembles parole or probation than even the more permissive forms of institutional

 confinement" and thus confers an "inherent liberty interest in continued placement in supervised

 release program"). The BOP's refusal to adhere to its own rules and program statements - which

 it has a well-established obligation to do, see_Albers v. Ralston, 665 F.2d 812, 814 (8th Cir.

 1981), citing Burton v. Ciccone, 484 F.2d 1322, 1324 (8th Cir. 1973) ("[W]hena regulation or

 Program Statement is adopted (by the Bureau of Prisons) it must be followed") - is depriving me

 of credit for earlier release.


         19.      Conclusion:     This Court should direct the BOP to award me all of the ETCs to

 which I am entitled as of the date of the Court's order, with credit for 15 days of ETC monthly,

 since IVlarch 10, 2022, every thirty days until August 4, 2022, and thereafter to the extent the BOP

 determines ETCs should be granted for time spent in halfway house or home confinement.

         WHEREFORE, this Petition should be granted.




                         ?7'/.
 Executed August / 7 , 2022
                                                  ^. ^. y^gp^:
                                                         Franklin Vostatek
                                                         Reg. No. 26822-509
                                                         1755 Alum Creek Drive
                                                         Columbus, OH 43207
                                                         Phone: (614)886-1673
                                                         Email: frankvostatek@yahoo. com
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                                   CERTIFICATE OF SERVICE



        I herewith certify pursuant to 28 U. S. C. § 1746 that I have transmitted a manually signed

 original of the foregoing Petitionfor Writ of Habeas Corpus by causing the same to be sent by

 first-class mail, postage prepaid, addressed to the following:

                                Clerk
                                United States District Court
                                for the Southern District of Ohio
                                85 Marconi Boulevard, Ste. 460
                                Columbus, Ohio 43215


 andI have serveda tme andcomplete copy ofthe sameby depositingsaiddocumentby first-class

 mail, postage prepaid, addressed to the following:

                                Civil Desk
                                United States Attoniey's Office
                                303 Marconi Boulevard, Ste. 200
                                Columbus, Ohio 43215

        The foregoing statements are true under penalty of perjury.




                          n'
 ExecutedAugust    2Z, 2022                                       ^t^i/^C^ ^
                                                                      Franklin Vostatek
